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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF UTAH

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ron Williams Fitness, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 1290                                                     PO Box 1290
                                  Draper, UT 84020                                                Draper, UT 84020
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Salt Lake                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  OTW, 2262 1200 W, Bldg E, #150, Woods Cross,
                                                                                                  UT 84087
                                                                                                  2Man Movers, 1030 W 2613 S, Salt Lake City, UT
                                                                                                  84119
                                                                                                  Amazon - Draper, UT 84020
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Ron Williams Fitness, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                      Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    Ron Williams Fitness, LLC                                                                       Case number (if known)
          Name

     List all cases. If more than 1,                                                                                                                      Member-Manag
     attach a separate list                          Debtor      Ron Williams                                                  Relationship               er

                                                     District    District of Utah             When      6/24/24                Case number, if known      24-23062


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Ron Williams Fitness, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 3, 2024
                                                  MM / DD / YYYY


                             X /s/ Ron Williams                                                           Ron Williams
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member-Manager




18. Signature of attorney    X /s/ Douglas L. Barrett                                                      Date September 3, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Douglas L. Barrett 8845
                                 Printed name

                                 Law Office of Douglas L. Barrett, PLLC
                                 Firm name

                                 1215 S Main Street
                                 Orem, UT 84058-6849
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     801-221-9911                  Email address      db@dlblaw.com

                                 8845 UT
                                 Bar number and State




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                      District of Utah
 In re       Ron Williams Fitness, LLC                                                                        Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     4,500.00
             Prior to the filing of this statement I have received                                        $                     4,500.00
             Balance Due                                                                                  $                         0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):       Tonja Williams

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed;

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the Debtors in any continued meeting of creditors due to Debtor's fault, Audits by the US
             Trustee's Office and Detailed Inquiries or 2004 examminations by anyone including, but not limited to the Chapter
             7 Trusee; non-dischargeability actions or other Adversarial Complaints, judicial lien avoidances, relief
             from stay actions or any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 3, 2024                                                        /s/ Douglas L. Barrett
     Date                                                                     Douglas L. Barrett 8845
                                                                              Signature of Attorney
                                                                              Law Office of Douglas L. Barrett, PLLC
                                                                              1215 S Main Street
                                                                              Orem, UT 84058-6849
                                                                              801-221-9911 Fax: 385-630-4416
                                                                              db@dlblaw.com
                                                                              Name of law firm
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